        Case 1:23-cv-00036-SPB Document 47-2 Filed 08/15/24 Page 1 of 9




                IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF PENNSYLVANIA
                               ERIE DIVISION
                                              :
                                              :
 RANDY J. SPENCER,                            : Docket No. 1:23-cv-00036-SPB
     Plaintiff                                :
                                              : Electronically Filed
 v.                                           :
                                              :
                                              :
 MATT MCSPARREN, BOB BETZOLD,                 :
 FRED BUCKHOLTZ, and REGINA                   :
 DELOE, ERIC HEIL, and TOWNSHIP               :
 OF CRANBERRY                                 : JURY TRIAL DEMANDED
       Defendants

 NOTICE OF SERVICE OF PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF
 DOCUMENTS DIRECTED TO DEFENDANT TOWNSHIP OF CRANBERRY (FIRST
                                SET)

      Notice is hereby given that Plaintiff’s Request for Production of Documents (First Set)

was served on the 22nd day of November, 2023 by email to Frank J. Lavery, Jr., Esquire and

Andrew W. Norfleet, Esquire. By email to flavery@laverylaw.com and

anorfleet@laverylaw.com

                                              Respectfully submitted,

                                              MCNAIR LAW OFFICES, PLLC


                                              By: /s/ Timothy D. McNair
                                                Timothy D. McNair, Esquire
                                                821 State Street
                                                Erie, PA 16501
                                                (814) 452-0700
                                                (814) 454-2371 (fax)
                                                tmcnair@mcnairlaw.com




                                             A
       Case 1:23-cv-00036-SPB Document 47-2 Filed 08/15/24 Page 2 of 9




                IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF PENNSYLVANIA
                               ERIE DIVISION
                                             :
                                             :
 RANDY J. SPENCER,                           : Docket No. 1:23-cv-00036-SPB
     Plaintiff                               :
                                             : Electronically Filed
 v.                                          :
                                             :
                                             :
 MATT MCSPARREN, BOB BETZOLD,                :
 FRED BUCKHOLTZ, and REGINA                  :
 DELOE, ERIC HEIL, and TOWNSHIP              :
 OF CRANBERRY                                : JURY TRIAL DEMANDED
       Defendants

 PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS DIRECTED
         TO DEFENDANT TOWNSHIP OF CRANBERRY (FIRST SET)

      NOW COMES the Plaintiff, Randy J. Spencer, by counsel, and provides the

following Request for Production of Documents to Defendant Township of Cranberry to

be answered in writing and under oath within thirty days of services hereof, as provided

in the Federal Rules of Civil Procedure:


                       INSTRUCTIONS AND DEFINITIONS


      A.     “You” or “your” refers to Defendant(s) herein and to all other persons acting
or purporting to act on behalf of Defendant(s), including agents and employees.

      B.     “Township” means “Township of Cranberry”.

      C.      “Communications” shall mean all inquiries, discussions, conversations,
negotiations, agreements, understandings, meetings, telephone conversations, letters,
correspondence, notes, telegrams, telexes, advertisements, facsimiles, e-mail, or other
forms of verbal and/or communicative intercourse.

       D.    “Documents” shall mean all written or graphic matter of every kind or
description, however, produced or reproduced, whether draft or final, original or
reproduction signed or unsigned, and regardless of whether approved, signed, sent,
        Case 1:23-cv-00036-SPB Document 47-2 Filed 08/15/24 Page 3 of 9




received, redrafted, or executed, including but not limited to: written communications,
letters, correspondence, facsimiles, e-mail, memoranda, minutes, notes, films,
recordings, of any type, transcripts, contracts, agreements, purchase or sales orders,
memoranda of telephone conversations of personal conversations, diaries, desk
calendars, interoffice communications, reports, studies, bills, receipts, checks,
checkbooks, invoices, requisitions or material similar to any of the foregoing however
denominated, by whomever prepared, and to whomever addressed, which are in your
possession, custody or control or to which you have had or can obtain access.




       E.     “Persons” means an individual, corporation, partnership, trust,
associations, company, organization, or any form of a business or commercial entity.

        F.     “Business Entity” means any proprietorship, partnership, corporation,
limited liability company, unincorporated association, limited partnership, limited
liability partnership, or other organization through which money passes.


       G.     “Identify” when used with respect to an individual, means to state (1) their
name; (2) business affiliation and official title and/or position; and (3) their last known
residential and business address.


       H.      “Identify” when used with respect to a document, means to state (1) the type
of document (e.g. letter, memorandum, hand-written note, facsimile, e-mail); (2) its date
of origin or creation; (3) its author and addressee; (4) its last known custodian or
locations; and (5) a brief description of its subject matter and size. In lieu of identifying
any document(s), you may attach a copy of it to your answer, indicating the question to
which it is responsive.


       I.      “Identify” when used with respect to a company or other business entity,
means to state, (1) the company’s legal name, any former names, and the name under
which it trades or does business (2) the address of its principal place of business; and (3)
the identity of its chief executive officer.


      J.     “Relate to” means consist of, refer to, reflect or be in any way logically
connected with the matter discussed.
        Case 1:23-cv-00036-SPB Document 47-2 Filed 08/15/24 Page 4 of 9




       K.       The period of time encompassed by these requests shall be from the date of
Plaintiff’s first citation until present, unless otherwise indicated. Note, this request is
continuing up to and at the time of trial.

                   REQUEST FOR PRODUCTION OF DOCUMENTS

       1.     All citations and related documents issued under the Township’s Nuisance

Ordinance, Property Maintenance Ordinance, and Zoning Ordinance relating to junk

yards in the past ten (10) years.


       RESPONSE:




       2.     All documents relating to the issuance of a Zoning Enforcement Notice to

SSR, LLC, relating to Parcel No. 08,014,-041..-00 on or about February 11, 2021,

including any documents relating to the investigation or observation of the alleged

violation before the Notice was issued, and all documents relating to the withdrawal of

the Violation Notice on or about April 1, 2021.


       RESPONSE:




       3.     All documents relating to the identification of any automobiles on Parcel

No. 08,014,-041..-00 before the February 11, 2021 Zoning Violation Notice was issued,

including any documents noting ownership of any such vehicles.


       RESPONSE:
       Case 1:23-cv-00036-SPB Document 47-2 Filed 08/15/24 Page 5 of 9




      4.     All documents relating to the issuance, service, or prosecution of any

violation notice to Daniel Heath under the Cranberry Township Property Maintenance

Ordinance resulting in the filing of a criminal citation at No. MJ-28304-NT-0000118-

2023and No. MJ-28304-NT-0000119-2023, including any notes, memoranda,

communications, emails, correspondence or other document comprising the

observations of any Township employee and any communication between Daniel Heath

and the Township regarding the Heath property on or near Deep Hollow Road in the

Township.


      RESPONSE:




      5.     Any and all documents relating to any investigation of the ownership of

any vehicles on the Heath property on or near Deep Hollow Road in the Township.


      RESPONSE:




      6.     Any and all documents comprising, recording, reflecting, or relating to the

Township’s decision to file the Contempt Petition against Plaintiff on or about February

2, 2023.
        Case 1:23-cv-00036-SPB Document 47-2 Filed 08/15/24 Page 6 of 9




      RESPONSE:




      7.     Any and all documents relating to any investigation of the junkyard

maintained by Barbara Ross on the Victory Heights Hill property along U.S. Route 322,

including, without limitation, any correspondence, violation notices, citations, or other

documents.


      RESPONSE:




      8.     Any and all documents relating to any investigation of any junkyard in the

Township in the past five (5) years.


      RESPONSE:




      9.     Any and all internal or external communications regarding any citations

filed under the Township’s Nuisance Ordinance, Property Maintenance Ordinance, and

Zoning Ordinance relating to junk yards in the past five (5) years.


      RESPONSE:
       Case 1:23-cv-00036-SPB Document 47-2 Filed 08/15/24 Page 7 of 9




      RESPONSE:

      10.    Any and all internal and external communications regarding Plaintiff’s

alleged violation of the Injunction on the Deep Hollow Property.


      RESPONSE:




                                            Respectfully submitted,

                                            MCNAIR LAW OFFICES, PLLC


                                            By: /s/ Timothy D. McNair
                                              Timothy D. McNair, Esquire
                                              821 State Street
                                              Erie, PA 16501
                                              (814) 452-0700
                                              (814) 454-2371 (fax)
                                              tmcnair@mcnairlaw.com
        Case 1:23-cv-00036-SPB Document 47-2 Filed 08/15/24 Page 8 of 9




                IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF PENNSYLVANIA
                               ERIE DIVISION
                                              :
                                              :
 RANDY J. SPENCER,                            : Docket No. 1:23-cv-00036-SPB
     Plaintiff                                :
                                              : Electronically Filed
 v.                                           :
                                              :
                                              :
 MATT MCSPARREN, BOB BETZOLD,                 :
 FRED BUCKHOLTZ, and REGINA                   :
 DELOE, ERIC HEIL, and TOWNSHIP               :
 OF CRANBERRY                                 : JURY TRIAL DEMANDED
       Defendants

                                    VERIFICATION

        I, _________________, verify that the Responses to Plaintiff’s Request for

Production of Documents Directed to Defendant Township of Cranberry (First Set) are

true and correct to the best of my knowledge, information and belief. I understand that

the statements herein are made subject to the penalties of 28 U.S.C. Section 1746

relating to unsworn falsification to authorities.



____________________________
Signature


Date:
Case 1:23-cv-00036-SPB Document 47-2 Filed 08/15/24 Page 9 of 9
